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Attorneys for Behrooz P. Vida, Chapter 7 Trustee

                 IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION
______________________________________
                                       §
In Re:                                 §
                                       §
YOLANDA MERCEDES BENITEZ,              §    Case No. 21-40734-elm7
                                       §
            Debtor.                    §
______________________________________ §
                                       §
BEHROOZ P. VIDA, Chapter 7 Trustee,    §
                                       §
            Plaintiff,                 §
                                       §
v.                                     §
                                       §
T.W. DOERS INVESTMENT FIRM, Inc., and §     Adversary No. 22-04023
LOUIS STEVENSON.                       §
                                       §
            Defendant.                 §
______________________________________ §

          REQUEST FOR CLERK’S ENTRY OF DEFAULT AGAINST
           DEFENDANT, T.W. DOERS INVESTMENT FIRM, INC.

        Pursuant to Fed. R. Bankr. P. 7055 and Fed. R. Civ. P., Rule 55(a), Behrooz P. Vida,

Plaintiff in the above-referenced adversary proceeding and Chapter 7 Trustee in the above-

referenced bankruptcy case (the “Plaintiff”), requests that you enter the default of Defendant T.W.

Doers Investment Firm, Inc. for failure to appear, answer, plead in or otherwise defend this action,


Request for Clerk’s Entry of Default Against Defendant,
T.W. Doers Investment Firm, Inc.                                                         Page 1 of 2
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as stated in the Declaration of Leah Duncan Bundage a/k/a Leah Duncan in Support of Request

for Clerk’s Entry of Default Against Defendant T.W. Doers Investment Firm, Inc. filed

contemporaneously herewith.

        WHEREFORE, Plaintiff respectfully requests that the Clerk of the Bankruptcy Court enter

default against Defendant T.W. Doers Investment Firm, Inc.


                                         Respectfully submitted,

                                         /s/ Leah Duncan
                                         John Dee Spicer
                                         State Bar No. 18930500
                                         Leah Duncan
                                         State Bar No. 24114061
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Request for Clerk’s Entry of Default Against Defendant,
T.W. Doers Investment Firm, Inc.                                                            Page 2 of 2
